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                  IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                          IN AND FOR THE COUNTY OF PIERCE

 8   TEENA GARCIA-RIMESTAD,                                  )
                                         PlaintifT,          )
 9                                                           )   CASE NO.:
                    vs.                      )
10                                           )
     SAFEWAY INC., an American Corporation, )                     COMPLAINT FOR DAMAGES
11                                           )
     and ^DOES” I through X                  )
12                                           )
                                 Defendants. )
13                                           )
                                             )
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            COMES NOW Teena Garcia-Rimestad, and, for a cause of action against the defendants,
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     complains and alleges as follows:
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                                  I.        JURISDICTION AND VENUE
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     1.1    Plaintiff Teena Garcia-Rimestad, at all times material, is a resident of Pierce County,
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            Washington.
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     1.2    Defendant Safeway, Inc., is a for profit corporation, with principal office address in
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            Pleasanton, California, and duly licensed to operate in Washington state, whose Registered
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            Agent in the State of Washington is CT Corporation System, 711 Capitol Way South, Suite
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            204, Olympia, Washington 98501.


     COMPLAINT FOR DAMAGES                            iota                   MlVOmCESOP GRSENEA UOVa fUC
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     1    1.5     Defendant Safeway, Inc., at all times relevant to this complaint, is the owner of the

 2                Safeway store where the plaintiff was injured in Puyallup, Pierce County, Washington.

 3        1.6       "Does” I through X are presently unknown corporations, limited liability companies,

 4                employees, agents, or contractors, and their respective spouses and marital communities,

 5                managing the premises, or otherwise responsible for keeping the premises of the Safeway

                  store in which plaintiff was injured reasonably safe forcustomeis and invitees.
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          1.7    Defendant Safeway Inc, is liable for any and all acts and omissions of any employees,
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                 agents, or contractors of Safeway lnc.and/or any ^Does” 1 through X referenced in
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                  Paragraph 1.6 above complained of herein under the doctrine of respondeat superior.
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                 herein
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          1.8    The acts and omissions of any individual "^Does” I through X complained of herein
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                 were performed for the benefit of their respective spouses and marital communities,
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         1.9      All acts and omissions complained of herein occurred in Pierce County, Washington.
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         1. 10    Jurisdiction and Venue are proper in this Court.
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                                                 n. FACTS AND INJURY
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         3.1      Plaintiffs re>allege paragraphs 1.1 through 1. 10.
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         3.2     At the time of the incident giving rise to this lawsuit. Plaintiff Teena Garcia-Rimestad did
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                 not have any physical constraints and was leading an active life.
18       3.3     On July 3"*, 2017 at approximately 12:30 P.M., Plaintiff Teena Garcia-Rimestad entered

19               the Safeway grocery store located at 5616 176^ Street East in Puyallup, Pierce County,

20               Washington, 98375 as a patron and invitee.

21       3.4     While inside the premises, PlaintifTTeena Garcia-Rimestad was shopping and had kneeled

22               down to view the items on the lower shelf of a clearance rack.



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 1   3.5    Suddenly and without warning, a Defendant Safeway lnc.'s employee came out ofthe back

 2          store-room pushing a cart through the large double doors. When the doors flew open, one

 3          of the doors forcefully struck the right side of Plaintiff Teena Garcia-Rimestad, knocking

 4          her down to the floor hard on her left side.

 5   3.6    Defendant Safeway Inc.'s employee then ran his heavy cart over Plaintiff Teena Garcia-

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            Rimestad’s toes while she was still on the ground.

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     3.7    PlaintiffTeena Garcia-Rimestad suffered personal injuries as a direct and proximate result

            of the accident, including but not limited to injuries to her right shoulder, neck, arms, upper
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            back, right knee and toes.
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     3.8    Following the accident at Defendant Safeway lnc.*s Safeway store on July 3"’, 2017, and
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            after the failure of conservative treatment to heal the injury to PlaintiffTeena Garcia-
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            Rimestad^s right knee, she was left with no ^oice but to undergo an invasive surgery to
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            repair the damage caused to the aforementioned knee. PlaintiffTeena Garcia-Rimestad
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            endured the complete right knee arthroscopy on August 15***, 2019 with Dr. Erin Kawasaki,
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            DO, at the Kaiser Tacoma Medical Center located on 209 Martin Luther King Jr. Way in
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            Tacoma, Washington 98405.
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     3.9   The employee referenced in Paragraphs 3.5 and 3.6 above was acting within the
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           scope of his employment when he committed the acts and omissions referenced above.
19         He also was breaching the duty of ordinary care to the invitee as an agent of defendant
20          Safeway, Inc.
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 1   3.10 Derendant Safeway, Inc., directly, or through "Does~ I through X and/or agents,

 2           contractors, and other employees of Defendant Safeway, Inc., also breached its

 3           duty of ordinary care to plaintiff in the training and supervision of the employee

 4           referenced in Paragraphs 3.5 and 3.6 above, and breached its duty of ordinary care

 5           both in the placement of the clearance rack referenced in Paragraph 3.4 in such close

 6           proximity to the large double doors to the back storeroom, and in its failure to

             place a warning sign or otherwise warn customers of the potential danger.
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                                    IV.     RESPONDEAT SUPERIOR
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     4.1      Defendants are liable for the acts and omissions of defendants' employees, agents, and
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              contractors under the Doctrine of Respondeat Superior
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                                    V.     FIRST CAUSE OF ACTtON
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     5.1      Plaintiffs reallege each and every allegation set forth above in Paragraphs 1.1 through
13           4.1.
14   5.2      Defendant(s) owe a duty ofdue care and ordinary care to customers ofthe Safeway owned,
15           maintained, and supervised by Derendant(s) to prevent dangerous conditions on store

16           property, in which customers could be injured by the grocery store's operations.
     5.3     Plaintiff Teena Garcia-Rimestad was a customer and invitee of the Safeway grocery store
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             that is owned, maintained, and supervised by Defendants.
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     5.4     PlaintiffTeena Garcia-Rimestad was lawfully on store property at the time ofthe incident
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     5.5 .   Defendants breached their duty of due care by failing to prevent a dangerous condition
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             which was not readily observable.
21   5.6     Defendants breached their duty of due care by failing to provide notice of a dangerous
22           condition.



     COMPLAINT FOR DAMAGES                          40fB                   LAwofftcesaFCRax&iuoYD.mc
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     5.7       Defendants also breached their duty of care by failing to prevent a dangerous condition that
 2             could cause a person to be thrown to the ground and injured.

 3   5.8       The injuries sustained by Plaintiff Teena Garcia-Rimestad were proximately caused by

 4             Defendants' breach of duty.

     5.9       As a result of the negligence of the Defendants, Plaintiff Teena Garcia-Rimestad was
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               injured generally and specially in an amount to be proven at the time of trial.
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                                           V. NOTICE RE LIABILITY
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     5.1       In the event the defense denies liability in its Answer or any other legal pleadings filed
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               herein, Plaintiff provides advance notice that it will request CR 11 sanctions for the filing
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               of a baseless pleading. This notice is provided as a courtesy in light of the clear and
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               undisputed facts in this matter regarding the happening of this occurrence.
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                                          VI.     PRAYER FOR RELIEF
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           WHEREFORE, the PlaintiffKs) pray for a judgment of liability against the Defendant(s) as
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     follows:
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     1.        For an award of damages compensating Plaintiff Teena Garcia-Rimestad for physical
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               injuries in an amount to be proven at trial.
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     2.        For an award of damages compensating PlaintiffTeena Garcia-Rimestad for past, present
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              and future medical and other out-of-pocket expenses in an amount to be proven at trial.
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     3.       For an award of damages compensating PlaintiffTeena Garcia-Rimestad for past, present,
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              and future pain and suffering, mental anguish, emotional distress, and other general
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              damages in an amount to be proven at trial.
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     4.       For an award of damages compensating PlaintiffTeena Garcia-Rimestad for past, present,
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              and future loss in income in an amount to be proven at trial.



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 1   5.    For an award of attom^s* fees in an amount to be proven at trial.

 2   6.    For an award of prejudgment interest on general and special damages directly and

 3         proximately caused by the negligence alleged herein in an amount to be proven at trial.

 4   7.    For an award of damages compensating Plaintiff for costs and disbursements herein in an

           amount to be proven at trial.
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     8.    For such other and further relief as the Court deems just and equitable.

     DATED THIS 30*^ day of June. 2020.
 7
                                           LAW OFFICES OF GREENE & LLOYD, P.L.L.C.
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 9                                         /S/ROBERT D, LLOYD
                                           Robert D. Lloyd, WSBA #28960
10                                         Attorney for Plaintiff
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